Case: 17-1968   Case
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                     United States Court of Appeals
                                     For the First Circuit
                                        _____________________

      No. 17-1968

                     SCOTTSDALE CAPITAL ADVISORS CORP.; JOHN HURRY,

                                          Plaintiffs, Appellants,

                                                    v.

                               THE DEAL, LLC; WILLIAM MEAGHER,

                                         Defendants, Appellees.
                                         __________________

                                              JUDGMENT

                                          Entered: April 3, 2018

              This cause came on to be heard on appeal from the United States District Court for the
      District of New Hampshire and was argued by counsel.

            Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
      judgment of the district court is affirmed.


                                                         By the Court:

                                                         /s/ Margaret Carter, Clerk


      cc:
      Christopher D. Hawkins
      Charles J. Harder
      Douglas E. Mirell
      Jordan Susman
      Dilan A. Esper
      Steven M. Gordon
      Elizabeth Anne McNamara
      John M. Browning
